     Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 1 of 14
                                                                                  United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                    IN THE UNITED STATES DISTRICT COURT                               September 27, 2019
                    FOR THE SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk
                              HOUSTON DIVISION


PATRICIA VILLAREAL,                             §
                                                §
                    Plaintiff,                  §
                                                §
V.                                              §             CIVIL ACTION NO. H-19-0300
                                                §
CHAMBERLAIN COLLEGE OF NURSING & §
HEALTH SCIENCES, INC.,           §
                                                §
                    Defendant.                  §


                              MEMORANDUM OPINION AND ORDER


      Plaintiff Patricia Villareal                    ("Plaintiff") sued defendant

Chamberlain     College           of     Nursing          &    Health      Sciences,          Inc.

("Defendant") for breach of contract,                          money had and received,
fraud, and under the Texas Deceptive Trade Practices Act ("DTPA"). 1
Pending    before        the     court    is    Defendant's             Motion   to     Dismiss
Plaintiff's Amended Complaint                  ("Defendant's Motion to Dismiss")
(Docket    Entry        No.     26).      For       the       reasons     explained       below,
Defendant's Motion to Dismiss will be granted.


                   I.     Factual and Procedural Background

      Defendant is a private institution for higher learning that
offers degrees in nursing.                 Plaintiff enrolled in Defendant's


      See
      1
            Plaintiff's   First   Amended  Complaint   ("Amended
Complaint"), Docket Entry No. 22, pp. 5-7. All page numbers for
docket entries in the record refer to the pagination inserted at
the top of the page by the court's electronic filing system,
CM/ECF.
   Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 2 of 14



school seeking a nursing degree in September of 2014. 2              Plaintiff

intended to obtain the degree as a necessary prerequisite to taking
the National Council Licensure Examination to become a registered
nurse. 3 When Plaintiff enrolled in September of 2014 students were
required to pass a Capstone Class after three years with an exit

exam and were allowed up to three attempts to pass the exit exam. 4
By February of 2017, when Plaintiff's coursework was nearing its
end, Defendant had changed the policy and required students to pass

a different exit exam with a second attempt permitted only if the

student had not previously failed a course. 5           Because Plaintiff

failed the required exit exam and had previously failed a course,
Defendant dismissed her from its program without awarding her a

nursing degree. 6
     Plaintiff filed this action on January 28, 2019, alleging
claims for breach of contract, money had and received, fraud and
deceptive trade practices because of Defendant's modification to

the graduation requirements, which Plaintiff alleges prevented her
from receiving a nursing degree despite completing all other


     2
         Amended Complaint, Docket Entry No. 22, p. 3      1   10.
     3
         Id. at 3-4.
     4
      Id. at 3 1 11; Exit Agreement For BSN Students ("Exit
Agreement"), Exhibit 1 to Amended Complaint, Docket Entry No. 22-1,
p. 1.
     5
         Amended Complaint, Docket Entry No. 22, pp. 3-4.


                                   -2-
    Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 3 of 14



coursework and paying approximately $70,000 in tuition.7 Defendant

moved to dismiss for failure to state a claim under Rule 12(b)(6)
on March 28, 2019. 8          The court denied the motion but ordered

Plaintiff to amend her complaint. 9           Plaintiff filed her Amended

Complaint on June 3, 2019, 10 and on June 17, 2019, Defendant again

moved for dismissal under Rule 12(b)(6).11            Plaintiff responded to
the motion on July 24, 2019,12 and Defendants replied on August 12,
2019. 13


                         II.    Standard of Review

      The Federal Rules of Civil Procedure permit dismissal when a
plaintiff fails to state a claim upon which relief can be granted.

Fed. R. Civ. P. 12(b)(6). A Rule 12(b)(6) motion tests the formal
sufficiency of the pleadings and is "appropriate when a defendant

attacks the       complaint    because   it   fails    to   state   a   legally
cognizable claim."       Ramming v. United States, 281 F.3d 158, 161


      7
          Plaintiff's Original Complaint, Docket Entry No. 1, pp. 4-7.
      Defendant's Rule 12(b)(6) Motion to Dismiss, Docket Entry
      8

No. 7, p. 1.
      9
          Hearing Minutes and Order, Docket Entry No. 19.
      10
           Amended Complaint, Docket Entry No. 22.
      11   Defendant's Motion to Dismiss, Docket Entry No. 26, p. 1.
      Plaintiff's Response to Defendant's Motion to Dismiss
      12

Plaintiff's Amended Complaint ("Plaintiff's Response" ) , Docket
Entry No. 29.
      Defendant's Reply in Support of Motion to Dismiss Amended
      13
Complaint, Docket Entry No. 30.
                                     -3-
     Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 4 of 14



(5th Cir. 2001), cert. denied sub nom. Cloud v. United States, 122

S. Ct. 2665 (2002).         To defeat a motion to dismiss, a plaintiff

must plead "enough facts to state a claim to relief that is
plausible on its face."       Bell Atlantic Corp. v. Twombly, 127 S. Ct.
1955, 1974 (2007).        In ruling on a Rule 12(b)(6) motion the court

must "accept the plaintiff's well-pleaded facts as true and view
them in the light most favorable to the plaintiff."               Chauvin v.

State Farm Fire     &   Casualty Co., 495 F.3d 232, 237 (5th Cir. 2007).
Review is limited to the complaint, any documents attached to the
complaint, and any document attached to the motion to dismiss that

is central to the claims and referred to by the complaint.               Lone

Star Fund V (U.S.). L.P. v. Barclays Bank PLC, 594 F.3d 383, 387
(5th Cir. 2010).


                               III.   Analysis

A.    Breach of Contract

      Plaintiff     alleges    the    Defendant    breached   the    parties'
agreement that she would pay Defendant tuition and be awarded a
degree if she completed the terms of the 2014-15 Academic Catalog
under which she first enrolled.14           Specifically, Plaintiff alleges
Defendant breached the contract by changing graduation procedures,
which afforded her only one attempt to pass an exit exam instead of
three.15 The parties agree a valid contract exists as stated by the


      14
           Amended Complaint, Docket Entry No. 22, pp. 4-6.
      15
           Id.; Plaintiff's Response, Docket Entry No. 29, pp. 3-4.
                                      -4-
      Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 5 of 14



terms of the Academic Catalog. 16            See University of Texas Health

Science Center at Houston v. Babb,                 646 S.W.2d 502,      506   (Tex.
App.-Houston (1st Dist.)           1982, no writ) ("[A] school's catalog
constitutes a written contract between the educational institution
and    the     patron,    where   entrance    is    had   under   its   terms.").

Defendant contends this claim must be dismissed because Plaintiff

failed to        attach   a contract and to          identify     the provisions

allegedly breached .17 Defendant also argues that a provision in the
Academic Catalog, which reserves to Defendant the right to modify

the terms therein at any time without notice, defeats Plaintiff's
breach of contract claim. 18         Plaintiff contends the provision is

illusory and unenforceable, and that Defendant was bound by the
Academic Catalog and breached the contract by unilaterally altering

the graduation requirements. 19

       Construction of an unambiguous contract is a matter of law.
Coker v. Coker, 650 S.W.2d 391, 393 (Tex. 1983). While the parties
agree the Academic Catalog forms an enforceable contract between
Plaintiff and Defendants, courts retain the independent power to
identify and apply          the proper construction of governing law


      Defendant's Motion to Dismiss, Docket Entry No. 26, p. 3;
       16

Plaintiff's Response, Docket Entry No. 29, p. 3.
       17
            Defendant's Motion to Dismiss, Docket Entry No. 26, p. 4.
      Id. at 4-5; see 2014-15 Academic Catalog, Exhibit B to
       18

Defendant's Motion to Dismiss, Docket Entry No. 26-2, p. 4
("Chamberlain reserves the right to change the terms and conditions
outlined in this catalog at any time without notice.").
       19
            Plaintiff's Response, Docket Entry No. 29, pp. 4-5.
                                       -5-
   Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 6 of 14



regardless of the     particular legal theories advanced by the

parties.    Kamen v. Kemper Financial Services. Inc., 111 S. Ct.
1711, 1718 (1991).    The court may review the Academic Catalog in
deciding this motion because it is referred to by and integral to

Plaintiff's claims and was attached to Defendant's Motion to

Dismiss.    Lone Star Fund V, 594 F.3d at 387.
       The relationship between a private school and its students is
primarily contractual.     Eiland v. Wolf, 764 S.W.2d 827, 838 (Tex.

App.-Houston    [1st Dist.]    1989,   writ denied).       If a school's

academic catalog contains language promising students who begin
their study under the catalog will be able to graduate under its

terms, the catalog is contractually binding.         Babb, 646 S.W.2d at
506.    But here Defendant's Academic Catalog contains a disclaimer
that Defendant     "reserves   the right to      change    the terms and

conditions outlined in this catalog at any time without notice. 1120
Pursuant to this disclaimer Defendant was not bound by the terms of
the Academic Catalog.      See Southwell v. University of Incarnate

Word, 974 S.W.2d 351, 356 (Tex. App.-San Antonio 1998, pet. denied)
(holding a school bulletin containing a disclaimer that it could be
changed at any time was not a contract).           In this situation an
implied contractual relationship exists between the student and the
private school, the terms of which are the school's policies and
procedures that the student necessarily agrees are subject to


      2014-15 Academic Catalog, Exhibit B to Motion to Dismiss,
       20

Docket Entry No. 26-2, at 4.
                                   -6-
   Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 7 of 14



change.     See id. at 356 ( "The specific terms of          [the implied]

contract must logically be defined by the college or university's

policies and requirements.").         Accordingly,     the terms of the

Academic Catalog form the foundation of the parties' contractual
relationship regardless of whether it is the actual contract as

they agree or whether it sets forth the terms of an implied

contract.
     To assert a claim for breach of contract a plaintiff must
identify the specific provision of the contract that the defendant

allegedly breached.       Baker v. Great Northern Energy,         Inc., 64

F. Supp. 3d 965, 971 (N.D. Tex. 2014).         Plaintiff identifies the

Academic Catalog but not any provision within it that bound

Defendant to offer her three attempts to pass the exit exam.               The
Academic Catalog contains no promise that students would have three
attempts to pass an exit exam. 21 The only source Plaintiff provides
for the three-attempts policy is an "Exit Agreement,"            dated two
months after Plaintiff's enrollment, which required students to
acknowledge      the   school's   procedures    surrounding      the   exit

examination.22    Plaintiff does not allege the Exit Agreement binds
Defendant; she agrees with Defendant that the Academic Catalog
defines their contract.      Plaintiff points to no provision in the


      see 2014-15 Academic Catalog, Exhibit B to Defendant's Motion
     21

to Dismiss, Docket Entry No. 25-2, p. 106 (requiring students to
pass an exit exam with a minimum score to graduate but not
specifying how many attempts would be allowed).
      Exit Agreement, Exhibit 1 to Amended Complaint, Docket Entry
     22

No. 22-1, p. 1.
                                   -7-
     Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 8 of 14



Academic Catalog that Defendant breached by changing the number of

attempts allowed on the exit exam.             Accordingly, because that
change is the sole basis for Plaintiff's breach-of-contract claim,
the claim fails as a matter of law.


B.    Money Had and Received

      Plaintiff alleges      an equitable claim for money had and
received to recover the         $70,000 in tuition she paid without

receiving the expected economic benefit in return.23               Defendant
contends this claim cannot proceed because such equitable relief is

unavailable when a contract exists over the disputed transaction,

and here neither party disputes the existence of a contract.24

      A claim for money had and received sounds in quasi-contract
and unjust enrichment. North Cypress Medical Center Operating Co.,

Ltd. v. Cigna Healthcare, 781 F.3d 182, 204 (5th Cir. 2015) (citing
Fortune Production Co. v. Conoco, Inc., 52 S.W.3d 671, 683 (Tex.
2000).      It applies the principles of restitution to disputes that

are not governed by a contract between the parties.               Edwards v.

Mid-Continent Office Distributors, L.P., 252 S.W.3d 833, 837 (Tex.
App.-Dallas 2008, pet. denied). To prevail on this claim Plaintiff
must show the Defendant holds money which in equity and good faith
is the Plaintiff's.        Best Buy Co. v. Barrera, 248 S.W.3d 160,


      23
           Amended Complaint, Docket Entry No. 22, pp. 6-7.
      Defendant's Motion to Dismiss, Docket Entry No. 26, pp. 8-9;
      24

Defendant's Reply in Support of Motion to Dismiss, Docket Entry
No. 30, pp. 6-7.
                                     -8-
      Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 9 of 14



162-63       (Tex. 2007)   (per curiam).         Quasi-contract recovery is

generally precluded where an express, valid agreement covers the

subject matter of the parties' dispute. Cigna Healthcare, 781 F.3d
at 204.
       The parties agree that their dispute arises under a contract

embodied by the 2014-15 Academic Catalog.                 The Academic Catalog

sets the graduation requirements of the degree and contains an
express warning that the terms of graduation were subject to change
at any time, and the parties necessarily entered their contract

with that understanding.               See Southwell,     974 S.W.2d at 356.

Because Plaintiff's claim is based on the terms of the Academic
Catalog, and thus the parties' contract, Plaintiff has no equitable
claim for money had and received.
       Plaintiff argues that her equitable claim may be pleaded in
the alternative. 25     But alternative pleading of equitable claims is
only permitted        where    one   party     disputes   the   existence of a

contract.        TIB--The Independent BankersBank v.            Canyon Community
Bank, 13 F. Supp. 3d 661 (N.D. Tex. 2014).                 Because the parties
agree that a contract exists, Plaintiff's claim for money had and
received fails as a matter of law.


c.     Fraud and Deceptive Trade Practices

       Plaintiff     alleges     the    Defendant    violated     the   DTPA   by
(1)    causing     confusion or misunderstanding as to              the source,


       25
            Plaintiff's Response, Docket Entry No. 29, p. 8.
                                         -9-
   Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 10 of 14



sponsorship, approval or certification of its nursing program, and

(2) representing that the contractual arrangement conferred rights,
remedies, or obligations that it did not have or involve.26                 See

Tex. Bus.     &   Com. Code   §   17.46(b) (2), (12).   A DTPA claimant must
show not only that deceptive conduct occurred but also that the

claimant relied on it and subsequently suffered an injury.                  Id.

§ 17.S0(a).       Plaintiff also alleges fraud.27        Common law fraud in
Texas requires:

     (1) that a material representation was made; (2) the
     representation was false; (3) when the representation was
     made, the speaker knew it was false or made it recklessly
     without any knowledge of the truth and as a positive
     assertion; (4) the speaker made the representation with
     the intent that the other party should act upon it;
     (5) the party acted in reliance on the representation;
     and (6) the party thereby suffered injury.
D'Onofrio v. Vacation Publications, Inc., 888 F.3d 197, 218 (5th
Cir. 2018) (quoting Aguaplex, Inc. v. Rancho La Valencia, Inc., 297
S.W.3d 768, 774 (Tex. 2009).
     Defendant contends Plaintiff has failed to plead her fraud and
DTPA claims with sufficient particularity. 28 A party alleging fraud

"must state with particularity the circumstances constituting
fraud."      Fed. R. Civ. P. 9(b).        Federal courts have consistently
held that claims under the Texas Deceptive Trade Practices Act must



     26
          Amended Complaint, Docket Entry No. 22, p. 5.


     28
          Defendant's Motion to Dismiss, Docket Entry No. 26, pp. 7-8.
                                        -10-
   Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 11 of 14




also satisfy Rule 9 (b)'s particularity requirement. �, Gonzalez
v. State Farm Lloyds, 326 F. Supp. 3d 346, 350 (S.D. Tex. 2017);
SHS Investment v. Nationwide Mutual Insurance Co., 798 F. Supp. 2d

811, 815 (S.D. Tex. 2011).       At minimum, allegations must include
the time, place, and contents of the alleged false representations,

as well as the identity of the person making the misrepresentation
and what was fraudulently obtained. Benchmark Electronics, Inc. v.

J.M. Huber Corp., 343 F.3d 719, 724 (5th Cir. 2003).

     The Academic Catalog states the students are required to pass
an exit exam to graduate, but not how many times a student may
attempt the exam.29     The only specific communication identified by
Plaintiff's Amended Complaint is the Exit Agreement dated two

months after she enrolled, which states students would be permitted
up to three attempts to pass the exit exam.30        But Plaintiff pleads
only generally that Defendant, a corporation, told her at school
while she was enrolled there over a three-year span that she would
have three opportunities to pass the exit examination.            Plaintiff
provides no details as to her receipt of the Exit Agreement or any
other communication from Defendant.31        Nor does Plaintiff provide



      2014-15 Academic Catalog, Exhibit B to Defendant's Motion to
     29

Dismiss, Docket Entry No. 26-2, pp. 104, 106.
      Exit Agreement, Exhibit 1 to Amended Complaint, Docket Entry
     30

No. 22-1, p. 1.
     31
          Amended Complaint, Docket Entry No. 22, pp. 5, 7.
                                   -11-
      Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 12 of 14



more than conclusory allegations that any communications were false

or induced her to enroll in Defendant's nursing program. Plaintiff
has     not      pled    her   fraud   and   DTPA   claims   with   sufficient
particularity as to the circumstances of fraud, and those claims
fail as a matter of law.


D.      Plaintiff's Request for Leave to Amend Will Be Denied

        At the end of her Response to Defendant's Motion to Dismiss,
Plaintiff requests leave to amend by stating:
        Should the Court grant any portion of the Defendant's
        Motion to Dismiss, Plaintiff requests leave to amend her
        complaint. Leave to amend "shall be freely given when
        justice so requires." F.R.C.P. 15(a). Leave to amend
        should not be denied without reason, such as undue delay,
        bad faith or dilatory motive on the part of the movant.
        Forman v. Davis, 371 U.S. 178, 182 (1962). Plaintiff has
        not previously amended her complaint and granting
        Plaintiff leave to amend would not unduly delay the
        case. 32
Federal Rule of Civil Procedure 15(a)(2) states that "[t]he court
should freely give leave [to amend] when justice so requires."
"Although Rule 15[a] 'evinces a bias in favor of granting leave to
amend,' it is not automatic."           Matter of Southmark Corp., 88 F.3d
311, 314 (5th Cir. 1996), cert. denied, 117 S. Ct. 686 (1997)

(quoting Wimm v. Jack Eckerd Corp., 3 F.3d 137, 139 (5th Cir.
1993)).        "A decision to grant leave is within the discretion of the
trial court.            Its discretion, however, is not broad enough to
permit denial if the court lacks a substantial reason to do so."


        32
             Plaintiffs' Response, Docket Entry No. 29, p. 9.
                                        -12-
      Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 13 of 14



Id.    (citing State of Louisiana v. Litton Mortgage Co., 50 F.3d

1298, 1302-1303 (5th Cir. 1995) (per curiam)).              The Fifth Circuit

has held that in exercising its discretion, a court may consider
various criteria including,             inter alia,     the failure to cure
deficiencies by amendments previously allowed and futility of the

proposed amendment.         Id. at 314-15         (citing Foman v. Davis,      83

S. Ct. 22 7, 2 30 (19 6 2)).
        Plaintiff has already amended her complaint once. 33           Because

Plaintiff has already had an opportunity to file an amended
complaint,      because    Plaintiff      filed    a   detailed   response     to
Defendant's Motion to Dismiss in which she argued that her Amended

Complaint      was   sufficient    to    withstand     Defendant's   Motion    to
Dismiss,     and because Plaintiff has failed either to submit a
proposed second amended complaint or to describe additional facts
that could be alleged in such a complaint, the court concludes that
the Plaintiff has pled her best case, and that allowing Plaintiff

the opportunity to file another pleading would do nothing but
prolong the inevitable. Accordingly, Plaintiff's request for leave
to amend will be denied.


                          IV.   Conclusion and Order

        For the reasons explained above, Plaintiff has failed to state
a claim for which relief may be granted.                Defendants' Motion to



         Amended Complaint, Docket Entry No. 22.
        33



                                        -13-
   Case 4:19-cv-00300 Document 31 Filed on 09/27/19 in TXSD Page 14 of 14




Dismiss   Plaintiff's    Amended   Complaint    (Docket    Entry   No.      26)

pursuant to Rule 12(b) (6) is therefore GRANTED, and this action

will be dismissed with prejudice.

     SIGNED at Houston, Texas, on this 27th day of September, 2019.




                                                SIM LAKE
                                   SENIOR UNITED STATES DISTRICT JUDGE




                                   -14-
